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                  IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF NEW JERSEY
                              NEWARK VICINAGE

                                           :
  DEAN BOONE, individually, and on :
  behalf of all others similarly situated, :
                                           :   Civil Action No. 2:17-cv-00378
                         PLAINTIFF,        :
                                           :
                  v.                       :
                                           :
  T-MOBILE USA, INC.,                      :
                                           :
                         DEFENDANT.        :
                                           :


             PLAINTIFF DEAN BOONE’S BRIEF IN OPPOSITION TO
              DEFENDANT T-MOBILE’S MOTION TO DISMISS AND
         BRIEF IN SUPPORT OF PLAINTIFF’S CROSS-MOTION TO AMEND
                     TO BE HEARD ON SEPTEMBER 18, 2017



                                        Respectfully submitted,
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 Dated: August 23, 2017
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        Plaintiff Dean Boone (“Mr. Boone” or “Plaintiff”) opposes Defendant T-Mobile, Inc.’s (“T-

 Mobile” or “Defendant”) Motion to Dismiss Plaintiff’s Second Amended Complaint pursuant to

 Rules 12(b)(1) and 12(b)(6) (the “Motion”) (ECF Doc. 33), and Plaintiff moves this Court to allow

 Plaintiff to amend the Second Amended Complaint (the “Complaint”).

                                 PRELIMINARY STATEMENT
        T-Mobile makes much ado about Plaintiff’s permitted amendments to the complaint, and

 tellingly fails to exert the same effort in discussing the merits of Plaintiff’s claims.        This

 misdirection is intended to divert the Court’s attention away from T-Mobile’s willful flouting of

 the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (the “FCRA”) and the New Jersey Fair

 Credit Reporting Act, N.J.S.A. 56:11-28, et seq. (the “NJ FCRA”). T-Mobile argues that dismissal

 of this matter is warranted because the Court lacks jurisdiction since Mr. Boone has not suffered a

 concrete injury in fact - and even if jurisdiction exists - T-Mobile did not violate any provision of

 the FCRA or NJ FCRA. Neither position has merit.

        T-Mobile has willfully violated the FCRA (and for the same reasons the NJ FCRA) by

 accessing Plaintiff’s credit report without a permissible purpose, and under false pretenses. 15

 U.S.C. §§ 1681b, 1681q, and 1681n(a)(1)(A).1 FTC Letter to Coffey (Feb. 11, 1998) (explaining

 that “a request for general information about products and prices offered does not involve a

 business transaction initiated by the consumer.”). T-Mobile acknowledges as much in its Brief by

 citing incorrect statutes as a basis to improperly dismiss Plaintiff’s claims, and further asserting

 there is no private right of action for the violations of 15 U.S.C. §§ 1681b and1681q. For several


 1
        As detailed in Plaintiff’s Cross-Motion, the accessing of the report is a separate violation
 under the FCRA (15 U.S.C. §§ 1681b) and NJ FCRA (N.J.S.A. 56:11-31). Thus, there should be
 two additional classes noted within the Complaint clarifying the aggrieved groups for T-Mobile’s
 wrongdoing.

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 reasons, Defendant’s assertion is false, including the express language of the FCRA. See

 1681n(a)(1)(A) (stating that “any person”2 may be liable for the willful noncompliance with “any

 requirement” within the Statute.).

        These violations of the FCRA resulted in substantive and concrete harms to Mr. Boone,

 conferring Article III Standing. T-Mobile accessed, without a permissible purpose, Plaintiff’s

 personal and private credit information, resulting in a concrete privacy injury. Plaintiff also

 suffered a concrete harm through the hard inquiry initiated by T-Mobile, which resulted in a

 reduced credit score, which negatively impacted Mr. Boone’s credit worthiness. See Diedrich v.

 Ocwen Loan Servicing, LLC, No. 15–2573, 2016 WL 5852453, at *4 (7th Cir. Oct. 6,

 2016) (finding that plaintiffs alleged an injury for purposes of standing where plaintiffs claimed

 to have “suffered damage to their credit.”). Accordingly, T-Mobile’s Motion should be dismissed.

        Plaintiff also respectfully cross moves the Court for leave to file a Third Amended

 Complaint pursuant to Rule 15 of the Federal Rules of Civil Procedure. The Third Amended

 Complaint simply adds two putative classes to the Complaint for T-Mobile’s violations of 15

 U.S.C. 1681b and N.J.S.A 56:11-31, which has already been asserted in the Complaint. Thus,

 these two additional classes clarify that there are two separate, but additional groups for the

 violations of §1681b and N.J.S.A. 56:11-31. As explained further below, even if T-Mobile did not

 violate § 1681q and N.J.S.A. 56:11-40, and there are no false pretenses found, T-Mobile still

 violated 1681b and N.J.S.A. 56:11-31 by acquiring credit reports without a permissible purpose,

 which would have required written authorization by T-Mobile.              Moreover, the proposed

 amendment does not prejudice Defendant. No discovery has occurred, and the T-Mobile is already



 2
          Section 1681a(b) defines a “person” as “any individual, partnership, corporation, trust,
 estate, cooperative, association, government or governmental subdivision or agency, or other
 entity.
                                                  2
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  on notice of the claims that serve as the basis for the two additional classes. Plaintiff discovered

  the need for further clarification of the classes prior to filing his Second Amended Complaint which

  occurred on June 28, 2017. Plaintiff requested consent from Defendant to include changes to the

  Second Amended Complaint prior to the filing of the Second Amended Complaint, but Defendant

  refused, and only agreed to permit Plaintiff to file a Second Amended Complaint in the form as

  attached to Plaintiff’s Motion to Amend from June 1, 2017. Because of Defendant’s refusal to

  consent to the amendment to be included with the Second Amended Complaint prior to filing,

  Plaintiff is required to file this cross motion to amend.

                 FACTUAL ALLEGATIONS AND PROCEDURAL HISTORY
         On or about April 21, 2016, Plaintiff traveled to a T-Mobile store in Paramus, New Jersey,

  and spoke with an employee of Defendant to make a general inquiry about the availability of cell

  phone plans and rates. While comparison-shopping for a potential plan, Plaintiff made clear that

  he did not want his consumer report to be accessed if a “hard” credit inquiry was required. The

  representative agreed that T-Mobile would only obtain Plaintiff’s credit report through a “soft”

  inquiry and not a “hard” inquiry.

         The distinction between a “soft” and “hard” credit inquiry is substantial. Specifically, a

  “hard” inquiry reduces a consumer’s credit score, remains on credit reports for two years, and

  contains substantially more information (that is confidential and personal) than a “soft” inquiry.

  See 15 U.S.C. §§ 1681b(a)(3)(A) and 1681b(c). Further a “soft” inquiry does not appear on a

  credit report to any inquiring party3, and does not lower an individual’s credit score.




  3
          A “soft” inquiry is only visible to the individual whom the credit report relates. As such,
  an inquiring person is not able to view the “soft” inquiries, especially the number of “soft” inquiries
  that has occurred.
                                                    3
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          T-Mobile was required to obtain written instructions (basis for the additional class) from

  Plaintiff to obtain his credit report through a “hard” inquiry, but it failed to do so. Plaintiff left the

  T-Mobile store without obtaining services or purchasing products from T-Mobile, and never

  signed any documentation. Plaintiff only subsequently learned that T-Mobile, without

  authorization, had obtained his credit report through a “hard” credit inquiry that appeared on his

  credit report.

          On January 19, 2017, Plaintiff filed his initial complaint and amended the complaint twice

  thereafter (once by right). On June 1, 2017, Plaintiff moved to amend the Amended Complaint.

  On June 15, 2017, the parties attended a scheduling conference before the Honorable Michael A.

  Hammer. At the conference, the parties agreed to permit Plaintiff to file Second Amended

  Complaint. On June 28, 2017, Plaintiff filed the Second Amended Complaint and on July 26,

  2017, Defendant filed this Motion. As discussed further in the cross-motion, prior to filing the

  Second Amended Complaint, Plaintiff requested that Defendant consent to additional changes

  prior to filing the Second Amended Complaint. T-Mobile did not provide consent, forcing Plaintiff

  to submit the instant cross-motion.

                                       STANDARD OF REVIEW

          Defendant moves to dismiss Plaintiff’s claims under Rules 12(b)(1) and 12(b)(6). Under

  both Rules, the court must “accept as true all factual allegations in the complaint and all reasonable

  inferences that can be drawn therefrom, and view them in the light most favorable to the plaintiff.”

  Kanter v. Barella, 489 F.3d 170, 177 (3d Cir.2007).

          When deciding a Rule 12(b)(1) motion to dismiss, the court must first determine whether

  the motion presents a “‘facial’ attack” or a “‘factual’ attack” on the claim at issue because that

  distinction determines “how the pleading must be reviewed.” Constitution Party of Pa. v. Aichele,



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  757 F.3d 347, 357-58 (3d Cir. 2014) (citations omitted). A facial attack calls for the court to apply

  the same standard of review it would use in considering a motion to dismiss under Rule 12(b)(6),

  i.e., accepting as true the facts alleged in the complaint and construing those facts in favor of the

  nonmoving party. Id. Here, Defendant has instituted a facial attack on the Court’s jurisdiction to

  hear this matter by alleging that Plaintiff lacks Article III standing claiming he has not suffered a

  concrete injury. (Def.’s Brief pg. 4).

         Additionally, the standard for a motion to dismiss under Fed.R.Civ.P. 12(b)(6) is an

  extremely liberal standard favoring plaintiffs.      The basis for this liberality is to allow a

  determination to be made on the full merits of the case. Dole v. Arco Chem. Co., 921 F.2d 484,

  486 (3d Cir. 1990). “In the context of a motion to dismiss, [the Third Circuit has] held that the

  [i]njury-in-fact element is not Mount Everest. The contours of the injury-in-fact requirement,

  while not precisely defined, are very generous, requiring only that claimant allege[ ] some specific,

  identifiable trifle of injury.” In re Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d

  625, 633–34 (3d Cir. 2017) citing Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 278 (3d Cir.

  2014) (emphasis omitted) (citation and internal quotation marks omitted) (second alteration in

  original). “At the pleading stage, general factual allegations of injury resulting from the

  defendant’s conduct may suffice, for on a motion to dismiss we presum[e] that general allegations

  embrace those specific facts that are necessary to support the claim.” Lujan v. Defenders of

  Wildlife, 504 U.S. 555, 561, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992) (citation and internal

  quotation marks omitted) (alteration in original). Thus, in order for a motion to dismiss for failure

  to state a claim to be appropriately granted it must be “clear that no relief could be granted under

  any set of facts that could be proved consistent with the allegations.” Swierkiewicz v. Sorema,

  NA ., 534 U .S. 506, 514 (2002) (citation omitted). Beyond the mandate that the Court must



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  accept all well-pleaded allegations of the complaint as true, any ambiguities or doubts

  concerning the sufficiency of the claim must be resolved in favor of the Plaintiff. See Hishon

  v. King & Spalding, 467 U.S. 69, 73 (1984). “The inquiry is not whether [Plaintiff] will

  ultimately prevail in a trial on the merits, but whether [he] should be afforded an opportunity

  to offer evidence in support of [his] claims.” In re Rockefeller Ctr. Props., Inc. Sec. Litig., 311

  F.3d 198, 215 (3d Cir. 2002).

                                           ARGUMENT

    A.    THIS COURT HAS SUBJECT MATTER JURISDICTION OVER THIS MATTER

         i.      Plaintiff has Established Standing to Assert His Claims Under the FCRA and
                 NJ FCRA Because T-Mobile’s Violations Resulted in Privacy Harms and
                 Damage to Plaintiff’s Creditworthiness

         Defendant challenges this Court’s subject-matter jurisdiction under Rule 12(b)(1),

  incorrectly arguing that the Plaintiff has not suffered a concrete injury-in-fact under the Supreme

  Court’s decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). (Def.’s Brief p. 5). This

  position is false, and fails to recognize Plaintiff’s privacy and credit harms. See Susinno v. Work

  Out World Inc., 862 F.3d 346, 352 (3d Cir. 2017); In re Horizon Healthcare Servs. Inc. Data Breach

  Litig., 846 F.3d 625, 633–34 (3d Cir. 2017); In re Google Inc. Cookie Placement Consumer Privacy

  Litig., 806 F.3d 125, 134-135 (3d Cir. 2015), cert. denied sub nom. Gourley v. Google, Inc., 137

  S. Ct. 36, 196 L. Ed. 2d 26 (2016).

         For federal court standing, the injury must be both (1) particularized and (2) concrete.

  Defendant does not dispute that Plaintiff’s injuries are particularized, only that they are not

  “concrete.” Elaborating on the meaning of concreteness, the Court in Spokeo distilled several

  “general principles” from its prior cases, without going beyond those cases. Id. at 1549. First,

  it acknowledged that, although tangible injuries (like physical or economic harm) are “perhaps



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  easier to recognize” as concrete injuries, “intangible injuries can nevertheless be concrete,”

  as can injuries based on a “risk of harm.” Id. Second, “[i]n determining whether an intangible

  harm constitutes injury in fact, both history and the judgment of Congress play important roles.”

  Id. Thus, if the “alleged intangible harm has a close relationship to a harm that has traditionally

  been regarded as providing a basis for a lawsuit in English or American courts”— or, put in fewer

  words, if “the common law permitted suit” in analogous circumstances — the plaintiff will have

  suffered a concrete injury that can be redressed by a federal court. Id.; see also Steel Co. v. Citizens

  for a Better Env’t, 523 U.S. 83, 102 (1998) (explaining that Article III encompasses “cases and

  controversies of the sort traditionally amenable to, and resolved by, the judicial process.”).

          But the plaintiff need not dig up a common-law analogue to establish a concrete

  injury, because Congress has the power (and is in fact “well positioned”) “to identify

  intangible harms that meet minimum Article III requirements,” even if those harms “were

  previously inadequate in law.” Spokeo, 136 S.Ct. at 1549. Accordingly, the third principle

  emphasized in Spokeo is that Congress can elevate even procedural rights to a concrete injury

  if they protect against an identified harm. See Susinno v. Work Out World Inc., 862 F.3d 346,

  352 (3d Cir. 2017) (holding that Congress can elevate “a harm that, while ‘previously inadequate

  at law,’ was of the same character of previously existing ‘legally cognizable injuries.’” (quoting

  Spokeo, 136 S.Ct. at 1549) and “[w]here a plaintiff’s intangible injury has been made legally

  cognizable through the democratic process, and the injury closely relates to a cause of action

  traditionally recognized in English and American courts, standing to sue exists.”). Of course, “a

  bare procedural violation, divorced from any concrete harm” identified by Congress, will not

  give rise to an Article III injury. Spokeo, 136 S.Ct. at 1549. But a “person who has been

  accorded a procedural right to protect his concrete interests” has standing to assert that right,

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  and may do so “without meeting all the normal standards for redressability and immediacy.”

  Lujan, 504 U.S. at 572 n.7.

         Despite these truths, Defendant mistakenly argues that Plaintiff has not suffered any “actual

  damages” and thus has no Article III standing. (Def.’s Brief p. 5). To demonstrate an injury for

  Article III standing, Plaintiff is not required to prove “actual damages,” Plaintiff must simply plead

  that he has suffered a concrete injury in fact. Bell v. Hood, 327 U.S. 678, 682 (1946) (“[W]hether

  the Plaintiff has sufficiently pleaded her actual damages is a different inquiry from whether the

  court has jurisdiction.”); Robins v. Spokeo, Inc., 11-56843, 2017 WL 3480695, at *7 (9th Cir.

  Aug. 15, 2017) (holding that even if the likelihood of actual harm is debatable, errors on a credit

  report still give rise to an injury in fact as long as they are not “the sort of ‘mere technical

  violation[s]’ which are too insignificant to present a sincere risk of harm to the real-world interests

  that Congress chose to protect with FCRA.” (quoting In re Horizon Healthcare, 846 F.3d at 638.)).

         Here, T-Mobile’s violations of the FCRA caused Plaintiff several types of well-established

  concrete injuries – including invasion of privacy and damage to credit worthiness – each of which

  are sufficient alone to confer Article III standing. See In re Horizon Healthcare Servs. Inc. Data

  Breach Litig., 846 F.3d at 641 (determining that “‘unauthorized disclosure of information’ have

  long been seen as injurious” and further holding that “[O]ur precedent and congressional action

  lead us to conclude that the improper disclosure of one’s personal data in violation of FCRA is a

  cognizable injury for Article III standing purposes.”) (citation omitted); Santangelo v. Comcast

  Corp., 162 F.Supp.3d 691, 698 (N.D. Ill. 2016) (“[A] depleted credit score is sufficient to constitute

  an injury-in-fact for the purposes of establishing Article III standing.”).

         First, Defendant has violated Plaintiff’s rights under the FCRA and has grossly invaded his

  privacy. T-Mobile’s illegal intrusion into Plaintiff’s personal credit report information violates the


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  express restrictions of 15 U.S.C. § 1681b. Protection of Plaintiff’s privacy in this regard is a stated

  purpose of the FCRA. See 15 U.S.C. § 1681b. In fact, Congress dedicated an entire section of

  the Act to ensuring that a consumer’s private personal and financial information is released only

  under specific, enumerated instances, discussed further below. See id. Nevertheless, T-Mobile

  has obtained Plaintiff’s credit file without authorization, and delved through his private, personal

  and financial information without any permissible purpose to do so.

         Not only is this kind of wanton disregard for consumer privacy more than a “bare,

  procedural violation” of the law, invasion of privacy is a quintessential “harm that has traditionally

  been regarded as providing a basis for a lawsuit in English or American courts,” and thus is a

  legally cognizable injury for standing purposes. Spokeo, 136 S.Ct. at 1549. For more than a

  century, American courts have recognized that “[o]ne who invades the right of privacy of another

  is subject to liability for the resulting harm to the interests of the other.” Restatement (Second) of

  Torts § 652A (1977); see id. cmt. a (noting that “the existence of a right of privacy is now

  recognized in the great majority of the American jurisdictions”). Since Spokeo, the Third Circuit

  has repeatedly reaffirmed that an invasion of privacy constitutes a sufficient concrete injury to

  satisfy Article III standing. Susinno, 862 F.3d at 352 (holding that one single recorded phone call

  to the plaintiff’s cell phone was an invasion of privacy and an injury in fact in a TCPA claim.); In

  re Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d 638, 6414; see also In re Google




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          Defendant unsuccessfully attempts to distinguish In re Horizon in its brief. (Def.’s Brief p.
  7, fn. 2). In re Horizon affirmed the fact that “‘unauthorized disclosure of information’ have long
  been seen as injurious” and that “[O]ur precedent and congressional action lead us to conclude that
  the improper disclosure of one’s personal data in violation of FCRA is a cognizable injury for
  Article III standing purposes.” Defendant claims that In re Horizon does not apply because
  Plaintiff consented to Defendant obtaining the information and that Defendant has a permissible
  purpose to do so. However, as discussed extensively in this brief, Defendant obtained Plaintiff’s
  personal information against his will and without a permissible purpose through a “hard” inquiry.
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  Inc. Cookie Placement Consumer Privacy Litig., 806 F.3d at 134-135 (“the fact that plaintiffs’

  injury is non-monetary is not dispositive”); In re Nickelodeon, 827 F.3d 262, 274 (3d Cir. 2016)

  (holding that after Spokeo the “unlawful disclosure of legally protected information” remains “a

  clear de facto injury.”).

            Consistent with this well-reasoned and binding decision, this Court should find that

  Plaintiff has standing and that his proposed amendment would not be futile. Defendant argues,

  however, that Plaintiff has no privacy harm because he consented to a “soft” credit inquiry. A

  “soft” inquiry, however, is utilized in instances when a consumer has not initiated a transaction,

  and is permitted without authorization. Reason being, a “soft” inquiry only provides limited

  information about the consumer. See 15 U.S.C. §§ 1681b(a)(3)(A) and 1681b(c); see also

  Cooper v. Pressler & Pressler, LLP, 912 F.Supp.2d 178, 187 (D.N.J. 2012) (“[A] ‘soft pull,’ [is],

  a request for updated address information only.” (internal quotation and citation omitted));

  Vanaman v. Nationstar Mortgage, LLC, 215CV00906KJDNJK, 2017 WL 1097189, at *1 (D. Nev.

  Mar. 22, 2017) (“A soft pull does not provide individual account or tradeline information found

  on a full consumer report obtained for a “hard pull” for the extension of credit.”).

          A “soft” inquiry only provides the following information: (A) the name and address of a

  consumer; (B) an identifier that is not unique to the consumer and that is used by the person solely

  for the purpose of verifying the identity of the consumer; and (C) other information pertaining to

  a consumer that does not identify the relationship or experience of the consumer with respect to a

  particular creditor or other entity. 15 U.S.C. § 1681b(c)(2). An illustration of “soft” inquiries are

  where credit card companies provide “pre-approved” credit offers. These “pre-approvals” are




  The fact that the disclosure of a consumer’s data happened under different circumstances in In re
  Horizon is irrelevant.
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  conditioned upon the credit offering institution obtaining a full credit report through a “hard”

  inquiry, after having conducted the initial “soft” inquiry. Thus, Plaintiff, at most, verbally

  consented to T-Mobile viewing highly limited information, that would not result in any credit score

  reduction. Instead, T-Mobile accessed Plaintiff’s most private financial information without his

  written consent, which was required. As such, Plaintiff has suffered a privacy harm caused by

  Defendant’s conduct.

         Moreover, Plaintiff has suffered a concrete injury by way of harm to his credit score, which

  directly negatively impacts his credit worthiness. The FCRA is specifically designed to prevent a

  negative impact on creditworthiness that comes with inaccurate or erroneous information being

  placed on a consumer’s credit report. Courts that have analyzed this issue have resoundingly

  determined that a credit score reduction is a concrete harm sufficient to confer Article III standing.

  See Diedrich v. Ocwen Loan Servicing, LLC, No. 15–2573, 2016 WL 5852453, at *4 (7th Cir.

  Oct. 6, 2016) (finding that plaintiffs alleged an injury for purposes of standing where plaintiffs

  claimed to have “suffered damage to their credit.”); Santangelo v. Comcast Corp., 162 F.Supp.3d

  691, 698 (N.D. Ill. 2016) (“[A] depleted credit score is sufficient to constitute an injury-in-fact for

  the purposes of establishing Article III standing.”) Adams v. Fifth Third Bank, No. 3:16-CV-

  00218-TBR, 2017 WL 561336, at *4 (W.D. Ky. Feb. 10, 2017) (“Plaintiffs’ allegations of lower

  credit scores, taken as true for the purposes of Fifth Third's motion for judgment on the pleadings,

  are sufficient to allege a concrete injury-in-fact for the purposes of standing under Article III.”)

         Thus, when a consumer’s credit score is lowered, no matter the amount, the consumer’s

  overall “creditworthiness” is also negatively impacted. Significantly, each hard inquiry results in

  a reduction of a credit score of approximately five points or more. See Harkins v. Diversified

  Collection Servs., Inc., No. CIV. PJM 12-1229, 2012 WL 5928997, at *1 n.1 (D. Md. Nov. 26,



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  2012). A reduced credit score not only impacts the consumer’s ability to gain credit, but also alters

  a consumer’s mindset as to what credit he should attempt to apply for. The harm to Plaintiff’s

  credit score goes well beyond a “bare procedural allegation.” It is a concrete and actual harm that

  immediately impacts a consumer.         One of the FCRA’s foundational purposes was to arm

  consumers against entities who improperly damage the consumer’s credit. In this case, Plaintiff’s

  credit score was negatively impacted by T-Mobile’s wrongdoing, which significantly bears on

  Plaintiff’s creditworthiness.5

          In Defendant’s Brief, it misleadingly argues that a reduction of credit is not sufficient to

  confer Article III standing by citing Slack v. Suburban Propane Partners, L.P., No. 10-2548 JLL,

  2010 WL 3810870, at *8 (D.N.J. Sept. 21, 2010). However, in Slack, the Court determined only

  that a credit score reduction is too speculative to determine actual damages, and the court made

  no comment as to standing.         Defendant’s reliance on Slack demonstrates a fundamental

  misunderstanding in the distinction between an inability to show an injury in fact for standing

  purposes and a failure to prove a harm in order to state a claim for actual damages (FCRA allows

  for the potential of actual, statutory and punitive damages). The Supreme Court in Bell v.

  Hood, 327 U.S. 678, 682 (1946) has made clear that “[j]urisdiction . . . is not defeated . . . by the

  possibility that the averments might fail to state a cause of action on which [Plaintiff] could actually

  recover. For it is well settled that the failure to state a proper cause of action calls for a judgment




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          Defendant refers to a prior iteration of Plaintiff’s complaint to argue that Plaintiff cannot
  show that the harm to Plaintiff’s credit was fairly traceable to T-Mobile’s violation of the FCRA.
  (Def.’s Brief p. 8, fn.3). Plaintiff’s prior complaints are a legal nullity and any argument by
  Defendant based on those earlier versions should not be given any weight. See W. Run Student
  Hous. Associates, LLC v. Huntington Nat. Bank, 712 F.3d 165, 173 (3d Cir. 2013) (3d Cir. Apr.
  4, 2013) (“[A]t the motion to dismiss stage, when the district court typically may not look outside
  the four corners of the amended complaint, the plaintiff cannot be bound by allegations in the
  superseded complaint.”).
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  on the merits and not for a dismissal for want of jurisdiction. Accordingly, whether the Plaintiff

  has sufficiently pleaded her actual damages is a different inquiry from whether the court has

  jurisdiction.” 327 U.S. 678, 682 (1946) (emphasis added)

          T-Mobile also claims that Plaintiff fails to allege facts sufficient to establish a causal nexus

  between the harms Plaintiff has suffered and the injuries those harms caused. (Def.’s Brief p. 8).

  However, T-Mobile misrepresents the nature of causation in the context of standing, stating

  incorrectly that Plaintiff must show a direct link between Plaintiff’s injury in fact and Defendant’s

  wrong doing. Rather, an incremental link is all that is required. Specifically, “[c]ausation in the

  context of standing is not the same as proximate causation from tort law.” Constitution Party of

  Pennsylvania v. Aichele, 757 F.3d 347, 366 (3d Cir. 2014). Concurrent causation is permissible

  in standing analysis, and as long as the conduct is at least in part responsible for a plaintiff’s injury,

  causation is established for standing purposes. Id. If the connection between the conduct and the

  injury is traceable, “an indirect causal relationship will suffice.” Id.; Massachusetts v. E.P.A., 549

  U.S. 497, 524 (2007) (The Court held that causation is present even if there is only an incremental

  link between the challenged action and asserted injury.). T-Mobile’s willful violations of the

  FCRA resulted in Plaintiff’s invasion of privacy and credit harm. The causal link between T-

  Mobile’s statutory violations and the privacy injuries and credit harm are directly related and

  elaborated on throughout Plaintiff’s Brief.

          Finally, Defendant claims that Plaintiff also lacks standing to bring his NJ FCRA Claim.

  (Def. Brief p. 9). See Genesis Healthcare Corp. v. Symczyk, 133 S. Ct. 1523, 1528, 185 L. Ed. 2d

  636 (2013) (“Article III, § 2, of the Constitution limits the jurisdiction of federal courts to “Cases”

  and “Controversies,” which restricts the authority of federal courts to resolving “‘the legal rights

  of litigants in actual controversies. . .’”). However, Plaintiff has standing to bring his NJ FCRA



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  claims for the same reasons he has standing to bring his FCRA Claims. The elements of the

  violated sections of the NJ FCRA are fundamentally the same as those of the cited FCRA

  provisions. As a result of Defendant’s violations of the NJ FCRA, Plaintiff has suffered a privacy

  injury and harm to his creditworthiness, which were directly caused by Defendant’s wrongdoing.6

      B. T-MOBILE VIOLATED SECTIONS 1681q AND 1681b
         Plaintiff has alleged that T-Mobile has violated two separate provisions of the FCRA: (1)

  T-Mobile violated 15 U.S.C. § 1681q by obtaining Plaintiff’s credit report under false pretenses

  and (2) T-Mobile also violated 15 U.S.C. § 1681b by obtaining Plaintiff’s credit report without a

  permissible purpose. Violations of each section triggers civil liability under 15 U.S.C. §

  1681n(a)(1)(A), which states “Any person who willfully fails to comply with any requirement

  imposed under this title with respect to any consumer is labile to that consumer in an amount equal

  to the sum of any actual damages sustained by the consumer as result of the failure or damages of

  not less than $100 and not more than $1,000.” Plaintiff has stated a claim for both violations

  independently of each other in the Complaint.

         i.      There is a Private Right of Action Under 15 U.S.C. §§ 1681q and 1681b

         Defendant falsely claims that there is no private right of action under either Sections 1681q

  or 1681b of the FCRA and that Plaintiff may only bring his claims pursuant to Section

  1681n(a)(1)(B). However, the express wording of the FCRA and case law confirm otherwise.

         The FCRA imposes liability on “any person” who willfully fails to comply with any

  requirement of the Act with respect to consumers. 15 U.S.C. § 1681n(a)(1)(B); see also Cushman

  v. Trans Union Corp., 115 F.3d 220, 223 (3d Cir. 1997) (“Sections 1681n and 1681o of Title 15

  respectively provide private rights of action for willful and negligent noncompliance with any duty


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         If this Court sees fit to dismiss Plaintiff’s claim for lack of standing, dismissal should be
  without prejudice to Plaintiff’s right to bring his claims in state court.
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  imposed by the FCRA and allow recovery for actual damages and attorneys’ fees and costs, as

  well as punitive damages in the case of willful noncompliance.” (internal quotation and citation

  omitted).).

         Since 1997, the Act has specifically imposed requirements on users of reports, and the

  violation of those requirements gives rise to a private right of action for the consumer against the

  user. See 15 U.S.C. § 1681b(f) (“A person shall not use or obtain a consumer report for any

  purpose unless [in accordance with the Act]”); Huertas v. Galaxy Asset Mgmt., 641 F.3d 28, 34

  (3d Cir. 2011) (“The FCRA imposes civil liability upon a person who willfully obtains a consumer

  report for a purpose that is not authorized by the FCRA.”); Zieger v. J.A. Cambece Law Office,

  P.C., CIV. 14-2965 RBK/JS, 2015 WL 3647267, at *3 (D.N.J. June 12, 2015) (“The FCRA

  imposes civil liability upon a person who willfully obtains a consumer report for a purpose that is

  not authorized by the FCRA . . . and a person who obtains a consumer report under false pretenses

  or knowingly without a permissible purpose.”); Hernandez v. Lamboy Furniture, Inc., CIV.A.07-

  00240, 2008 WL 4061344, at *8 (E.D. Pa. Sept. 2, 2008) (Stating that Section 1681n provides for

  civil liability for violations of Section 1681b); Hinton v. Trans Union L.L.C., 2004 WL 1114744

  (N.D. Ill. May 4, 2004) (lender and furnisher of information that accessed individual’s consumer

  report after loan was paid in full can be liable for obtaining individual’s consumer report without

  permissible purpose).

         The Act also imposes liability on all users who obtain information under false pretenses.

  See 15 U.S.C. § 1681q. While Section 1681q specifically mentions criminal liability, it is almost

  universally held to create a requirement under the Act, the violation of which is civilly enforceable

  against “any person” including corporate entities. 15 U.S.C. § 1681q; Daley v. Haddonfield

  Lumber Inc., 943 F.Supp. 464, 467 (D.N.J. 1996) (“[S]ection 1681q provides the basis for



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  imputing to users of consumer reports civil liability for willful violations of section 1681.”);

  Caldwell v. Gutman, Mintz, Baker & Sonnenfeldt, P.C., 701 F.Supp.2d 340, 353 (E.D.N.Y. 2010)

  (“private right of action is available under 15 U.S.C. § 1681q, the provision plaintiffs rely on”);

  Kennedy v. Border City Sav. & Loan Ass'n, 747 F.2d 367, 369 (6th Cir. 1984) (“a civil cause of

  action under Section 1681n exists for violation of Section 1681q.”); Gilliard v. Athena Funding

  Group, Inc., 2011 WL 4711956 (M.D. Fla. Oct. 5, 2011) (allegations that defendants initiated a

  “hard pull” without a permissible purpose stated a claim that defendants obtained report under

  false pretenses and with the knowledge that their action was in violation of the FCRA).

          Moreover, the FCRA specifically enumerates when a private right of action under the Act

  is not permitted. See 15 U.S.C. 1681m(h)(8). Neither 1681q or 1681b have such a limitation, and

  thus a private right of action is further confirmed. See Milbourne v. JRK Residential Am., LLC,

  92 F.Supp.3d 425, 434 (E.D. Va. 2015) (holding that because Section 1681b does not have a

  specific provision that prevents a private right of action, as in Section 1681m, then there is a private

  right of action to enforce Section 1681b).

          Defendant also incorrectly argues that Plaintiff’s citation to Section 1681n(a)(1)(A) is

  incorrect, and that Plaintiff should be proceeding under Section 1681n(a)(1)(B). (Def.’s Brief p.

  10).   This assertion is false, and completely misstates Plaintiff’s allegations.               Section

  1681n(a)(1)(A) and (2)(B) are two different damages provisions for violating Section 1681q.

  Those damages provisions state:

                 (a) In general. Any person who willfully fails to comply with any
                 requirement imposed under this title with respect to any consumer
                 is liable to that consumer in an amount equal to the sum of

                 (1)      (A) any actual damages sustained by the consumer as a
                          result of the failure or damages of not less than $100 and
                          not more than $1,000; or



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                        (B) in the case of liability of a natural person for obtaining
                        a consumer report under false pretenses or knowingly
                        without a permissible purpose, actual damages sustained by
                        the consumer as a result of the failure or $1,000, whichever
                        is greater;

  (emphasis added.)

         Section 1681n(a)(1)(A) is intended for any “person” (such as T-Mobile) who violates any

  provision of the FCRA, including Section 1681q, while Subsection (2)(B) is meant for only

  “natural persons” who violate the FCRA. Thus, Defendant’s assertion that Section 1681n(a)(1)(B)

  is the applicable damages provision in this case is false. See Daley, 943 F.Supp. at 467 (holding

  Haddonfield Lumber Inc., had violated 1681n and 1681q by obtaining the plaintiff’s credit report

  under false pretenses); Massachusetts Mut. v. Orenyo, CIV. 96-5234 (WGB), 1998 WL 1297799,

  at *12 (D.N.J. July 24, 1998) (“[I]f Mass Mutual willfully obtained the credit report

  under false pretenses or for an improper purpose, it may be civilly liable to Orenyo under

  the FCRA.”); Davis v. Reg'l Acceptance Corp., 300 F.Supp.2d 377, 386 (E.D. Va. 2002)

  (“Because Plaintiff alleges that Hall [Acura of Newport News] unlawfully repossessed a vehicle

  that was lawfully titled in her name after having unlawfully obtained her credit report . . . she has

  adequately alleged willfulness and false pretenses under the designated sections of the Act.”);

  Gomeringer v. Pack, CIV.A. 6:15-1048-TMC, 2015 WL 5158742, at *3 (D.S.C. Sept. 2, 2015)

  (“The FCRA imposes civil liability on any ‘person,’ which includes any individual, corporation,

  or other entity, who willfully or negligently fails to comply with any requirement imposed under

  the FCRA. When a defendant acted willfully in violating the statute's requirements by obtaining a

  consumer report under false pretenses or knowingly without a permissible purpose, the FCRA

  permits a plaintiff to recover actual damages or statutory damages of $1,000, whichever is greater;

  punitive damages; and costs of the action.” (internal citations omitted)). Defendant’s argument



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  taken to its logical conclusion would result in there being no private right of action under the FCRA

  against corporations, because Section 1681n(a)(1)(B) is a general damages provision that applies

  to any violation of the Act.

         Defendant cites several cases to support its position, but none of those cases stand for the

  proposition that T-Mobile’s would like. In Caldwell v. Gutman, Mintz, Baker & Sonnenfeldt,

  P.C., 701 F. Supp. 2d 340, 354 (E.D.N.Y. 2010) that court determined “a private plaintiff may

  bring a claim under § 1681q through 1681n, the FCRA’s enforcement provision for willful

  noncompliance with the statute”, and at no point was a determination made that a plaintiff must

  bring the cause of action under 1681n(a)(1)(B). Defendant also cites Burghy v. Dayton Racquet

  Club, Inc., 695 F. Supp. 2d 689 (S.D. Ohio 2010) and Frazier v. Vintage Stock, Inc., No. CIV-15-

  550-D, 2016 WL 6952316, at *5 (W.D. Okla. Nov. 28, 2016) for the proposition that corporate

  entities cannot be held liable for obtaining a consumer report under false pretenses or without a

  permissible purpose. These cases, however, only refer to a defendant’s potential liability under 15

  U.S.C. 1681n(a)(1)(B), which certainly only refers to natural persons. As Plaintiff has addressed,

  the majority of courts, including this District, have held that a violation of Sections 1681b and

  1681q can give rise to liability for corporations under Section 1681n. See, e.g., Massachusetts

  Mut. v. Orenyo, CIV. 96-5234 (WGB), 1998 WL 1297799, at *12 (D.N.J. July 24, 1998) (“[I]f

  Mass Mutual willfully obtained the credit report under false pretenses or for an improper purpose,

  it may be civilly liable to Orenyo under the FCRA.”).

         A plain reading of provisions 1681n(a)(1)(A) and 1681n(a)(1)(B) confirms that there is

  both corporate and individual liability for violating 1681q. Indeed, there would be no other reason

  to provide two different damage provisions for “any person” (1681n(a)(1)(A)) versus “natural

  persons” (1681n(a)(1)(B)). See Schroeder v. Capitol Indemnity Corp., 2006 WL 2009053 (E.D.



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  Wis. July 17, 2006) (“Since Capitol Indemnity is not a ‘natural person,’ § 1681n(a)(1)(B) would

  presumably not apply. But under § 1681n(a)(1)(A), a plaintiff can recover from ‘any person’ who

  willfully fails to comply with the FCRA ‘any actual damages sustained by the consumer as a result

  of the failure or damages of not less than $100 and not more than $1,000,’ as well as costs and

  reasonable attorneys fees. Thus, it would appear that if plaintiffs can establish

  that Capitol Indemnity willfully violated the FCRA by obtaining their credit reports without either

  their consent or a permissible purpose, they may be entitled to statutory damages.”).

         ii.     Defendant Had No Permissible Purpose to Access Plaintiff’s Credit Report

         Plaintiff has alleged sufficient facts to state a claim under both 15 U.S.C. §§ 1681q and

  1681b. As a matter of law, an allegation under § 1681q cannot be sustained without the defendant

  also being in violation of § 1681b. See Daley, 943 F.Supp. at 467. To make a claim under §

  1681q, Plaintiff must demonstrate that Defendant had no permissible purpose for obtaining

  Plaintiff’s consumer report under § 1681b.        Section 1681b enumerates several permissible

  purposes under which a defendant could obtain a credit report. One such purpose is that the user

  of the credit report obtained the report for a “legitimate business need” and “in connection with a

  business transaction that is initiated by the consumer.” 15 U.S.C. § 1681b(a)(3)(F). Another

  permissible purpose is that the user “intends to use the information in connection with a credit

  transaction involving the consumer . . . and involving the extension of credit to, or review or

  collection of an account of, the consumer.” 15 U.S.C. § 1681b(a)(3)(A). Because Defendant can

  claim no permissible purpose in this case, T-Mobile was required to obtain consent in writing from

  Plaintiff to access his credit report. 15 U.S.C. § 1681b(a)(2).

         First, Defendant did not have a permissible purpose under § 1681b(a)(3)(F) because

  Plaintiff did not initiate a business transaction with T-Mobile. Plaintiff was merely inquiring about

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  potential cellular phone service in contemplation of a possible future transaction. In other words,

  Plaintiff was merely “window shopping”. The Federal Trade Commission (“FTC”) has explained

  that mere questions of pricing or window shopping are not considered “business transaction.” The

  FTC illustrated this determination by explaining a circumstance where a consumer “‘comes to an

  automobile dealership and requests information’ from a salesman about one or more automobiles”

  did not constitute a transaction sufficient to allow the dealership to obtain a consumer’s credit

  report. FTC Letter to Coffey (Feb. 11, 1998) (attached as Exhibit “A” to the Second Amended

  Complaint attached hereto as Exhibit “1”). As the FTC’s Letter to Coffey confirms, more than a

  mere inquiry, or “shopping” behavior is required for a transaction to have been initiated:

  A consumer who asks a dealer questions about prices and financing is not necessarily indicating

  an intent to purchase or lease a vehicle from that particular dealer. Nor does the dealer have a

  “legitimate” business need for a consumer report in this situation. The consumer may simply be

  comparison shopping. In such a situation, the dealer must obtain written permission from the

  consumer before obtaining a consumer report. If the dealer would like to see a consumer's credit

  report before answering general questions about the availability of financing, this must be

  explained to the consumer and written permission must be obtained. In the same way, a request to

  "test drive" a vehicle does not indicate an intent to initiate the purchase or lease of the vehicle.

  Accordingly, if a consumer asks to test drive a vehicle, the dealer must obtain written permission

  from the consumer before obtaining a report. Id. (emphasis added).

          The “request for general information about products and prices offered does not involve a

  business transaction initiated by the consumer.” Id. Instead, the FTC opined that a user “may

  obtain a [consumer] report only in those circumstances in which the consumer clearly understands

  that he or she is initiating the purchase or lease of a vehicle and the seller has a legitimate business
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  need for the consumer report information in order to complete the transaction,” and that “[o]nly

  in those circumstances where it is clear both to the consumer and to the dealer that the consumer

  is actually initiating the purchase or, lease of a specific vehicle and, in addition, the dealer has a

  legitimate business need for consumer report information may the dealer obtain a report without

  written permission.” Id. (emphasis added).

         The illustration in the FTC Letter is nearly identical to this case. Plaintiff was clearly

  window shopping when he inquired about the cost of cellular phone plans. Plaintiff was provided

  that information by a T-Mobile representative, and decided not to agree to any services. Simply

  put, there was no transaction. This interaction was simply “shopping” by Plaintiff, and no

  permissible purpose existed under 1681b(a)(3)(F) to obtain Plaintiff’s credit report.

         Defendant also argues that it was permitted to obtain Plaintiff’s credit report because there

  is an alleged transaction involving an extension of credit to the Plaintiff. 15 U.S.C. §

  1681b(a)(3)(A). However, that is not the case, and Section 1681b(a)(3)(A) does not apply. Section

  1681b(a)(3)(A) requires there to be a credit transaction involving the consumer, which did not

  occur in this case. 15 U.S.C. § 1681b(a)(3)(A); see also Stergiopoulos & Ivelisse Castro v. First

  Midwest Bancorp, Inc., 427 F.3d 1043, 1047 (7th Cir. 2005) (“A third party cannot troll for reports,

  nor can it request a report on a whim. Rather, there must be a direct link between a consumer’s

  search for credit and the bank’s credit report request.”). Credit is defined in the FCRA as to have

  the same meaning as in § 1691a of the Equal Credit Opportunity Act (“ECOA”). 15 U.S.C. §

  1681a(r)(5). Under the ECOA, credit is defined as “the right granted by a creditor to a debtor to

  defer payment of debt or to incur debts and defer its payment or to purchase property or services

  and defer payment therefor.” 15 U.S.C. § 1691a(d) (emphasis added). Additionally, while the

  term “transaction” is not specifically defined in the FCRA, there are two definitions provided for
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  the word in Merriam Webster’s Dictionary: (1) “something transacted; especially an exchange or

  transfer of goods, services, or funds”; and (2) “an act, process, or instance of transacting,” with

  “transacting” and “transacted” both being relevantly defined as “to carry to completion.”

  MERRIAM-WEBSTER’S DICTIONARY (11th ed. 2011) (emphasis added).

         Indeed, under § 1681b(a)(3)(A) T-Mobile still had no permissible purpose to obtain

  Plaintiff’s credit report, because Plaintiff, at no point, agreed to any type of transaction. and only

  requested T-Mobile plan pricing. This fact is most pointedly demonstrated by the fact that Plaintiff

  did not obtain services, make any purchase or sign any agreement with T-Mobile.

         Furthermore, the vast majority of case law in the Third Circuit regarding § 1681b(a)(3)(A)

  reflects two instances where a creditor may have a permissible purpose that falls under this section:

  (1) where a consumer applies for credit; and (2) when a consumer owes a debt that is being

  collected by the creditor. See, e.g, Huertas v. Citigroup, Inc., 639 Fed.Appx. 798, 801 (3d Cir.

  2016) (holding that a consumer applying for credit, even if the creditor initiated the transaction,

  qualifies as a permissible purpose under § 1681b(a)(3)(A)); Cooper v. Pressler & Pressler, LLP,

  912 F.Supp.2d 178, 187 (D.N.J. 2012) (holding that there was a permissible purpose because

  Plaintiff sought and obtained credit from the defendant); Huertas v. Galaxy Asset Mgmt., 641 F.3d

  28, 34 (3d Cir. 2011) (holding that debt collectors have a permissible purpose under §

  1681b(a)(3)(A)). Here, neither of these scenarios exist. As set forth above, Defendant had no

  permissible purpose to obtain Plaintiff’s full credit report through a “hard” inquiry, and violated

  15 U.S.C. § 1681b.

         Moreover, T-Mobile cannot claim after the fact that it has several permissible purposes to

  obtain Plaintiff’s credit report when it was required to certify the basis for its permissible purpose




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  under the FCRA at the time it acquired Plaintiff’s credit report. Indeed, Section 1681b(f) expressly

  states:

                   (f) Certain use or obtaining of information prohibited. A person shall not use or
                   obtain a consumer report for any purpose unless
                           (1) the consumer report is obtained for a purpose for which the consumer
                           report is authorized to be furnished under this section; and
                           (2) the purpose is certified in accordance with section 607 [§ 1681e] by a
                           prospective user of the report through a general or specific certification.

            Thus, T-Mobile has already certified the exact reason that it claims to have been permitted

  to obtain Mr. Boone’s consumer report. Whatever the purported basis was at the time the credit

  report was acquired, should be the only basis upon which T-Mobile is permitted to argue that it

  was entitled to Mr. Boone’s consumer report.

            Because there was no permissible purpose to obtain Plaintiff’s credit information in this

  case, Plaintiff’s claim under § 1681q is also actionable. The second inquiry in a § 1681q analysis

  is if Defendants actions were calculated to mislead Plaintiff. Daley v. Haddonfield Lumber Inc.,

  943 F.Supp. 464, 467 - 486 (D.N.J. 1996). Here, T-Mobile affirmatively represented to Plaintiff

  that it would only perform a soft credit inquiry which would not affect Plaintiff’s credit score.

  (Compl. ¶ 15). However, instead of following through with that promise, T-Mobile performed a

  hard credit inquiry without authority and obtained a full consumer report. (Compl. ¶ 17). T-Mobile

  had direct knowledge of Plaintiff’s desires to keep his personal information private; however,

  Defendant made the affirmative choice to mislead Plaintiff about T-Mobile’s intentions and

  accessed his full credit file against Plaintiff’s will. The representation that T-Mobile would not

  conduct a hard credit inquiry and access Plaintiff’s full credit file was directly intended to deceive

  Plaintiff for T-Mobile’s own gain. There is no other way to construe such a direct and blatant

  misrepresentation other than that it was calculated to mislead. Moreover, the Complaint not only


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  specifies the facts necessary to show a calculated attempt to mislead, it specifically alleges that T-

  Mobile obtained “a consumer report under false pretenses by intentionally misleading Plaintiff.”

  (Compl. ¶ 41).

         iii.      Plaintiff’s Claims Under the NJ FCRA Have Been Adequately Plead

         T-Mobile claims that Plaintiff’s NJ FCRA claim fails because Section 56:11-38(a)(1)(b)

  only refers to natural persons. (Def.’s Brief p. 13). Defendant, however, cites the wrong NJ FCRA

  section to support its arguments for dismissal. Indeed, Plaintiff brings his NJ FCRA claims

  pursuant to N.J.S.A. 56:11-31, prohibiting the access of a consumer report without a permissible

  purpose, and N.J.S.A. 56:11-40 (and not 56:11-38(a)(1)(b)), prohibiting “any person” from

  “knowingly and willfully obtain[ing] information on a consumer from a consumer reporting

  agency under false pretenses.” “Any person” as used in the NJ FCRA, like the FCRA, may refer

  to corporations as well as natural persons. Furthermore, the NJ FCRA, like the FCRA, provides

  for damages for a violation of N.J.S.A. 56:11-40 and N.J.S.A. 56:11-31 “$100 and not more than

  $1,000.” 56:11-38a(1)(a).

         Further, the NJ FCRA has the same permissible purposes as the FCRA in allowing people

  to access a consumer’s credit report. N.J.S.A. 56:11-31. Thus, as discussed in detail above, the

  same reasons under the FCRA that T-Mobile did not have a permissible purpose in obtaining

  Plaintiff’s credit report under the FCRA, so too did T-Mobile lack any permissible purpose under

  the NJ FCRA. Thus, Plaintiff plainly states a claim for Defendant’s improper acquisition of

  Plaintiff’s credit report and under false pretenses.

         Accordingly, as Plaintiff has standing to bring his claims, and has appropriately plead

  causes of action for which relief can be granted, Defendant’s Motion to Dismiss the Second

  Amended Complaint should be Denied in its entirety.



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                         PLAINTIFF’S CROSS-MOTION TO AMEND
                           THE THIRD AMENDED COMPLAINT

         Pursuant to Rule 15 of the Federal Rules of Civil Procedure, Plaintiff respectfully moves

  this Court for leave to file a Third Amended Complaint. The Third Amended Complaint (attached

  hereto as Exhibit “1”) clarifies Plaintiff’s claims against T-Mobile USA, Inc. by, among other

  things, adding two proposed putative classes to the Complaint, the basis for which already exist in

  the Second Amended Complaint.

         As noted above, the new language in the Complaint simply relates to two additional

  putative classes, clarifying claims already asserted in Plaintiff’s current Complaint. Plaintiff’s

  current Complaint provides only a single class for T-Mobile violating both 1681q and 1681b, and

  a single New Jersey class for violations of both N.J.S.A. 56:11-31a and N.J.S.A. 56:11-40.

  However, there should be four different classes representing violations of each of the sections

  noted under the FCRA and NJ FCRA. Although Defendant is certain to make much of Plaintiff’s

  requested amendment, Plaintiff had requested that counsel for Defendant agree to a potential

  amendment long ago and prior to the filing of the Second Amended Complaint. Defendant refused

  Plaintiff’s request for any further changes. Accordingly, Plaintiff seeks leave to amend pursuant

  to FRCP 15(a), which should be granted for the reasons set forth below.

     A. PLAINTIFF HAS MET THE STANDARD FOR OBTAINING LEAVE TO FILE
        AN AMENDED COMPLAINT UNDER RULE 15

         A motion to amend a complaint filed prior to the deadline for amendments of pleadings set

  in the Rule 16 Scheduling Order are governed by Fed.R.Civ.P. 15(a). Pursuant to Rule 15(a), after

  a responsive pleading has been filed: “[A] party may amend its pleading only with the opposing

  party’s written consent or the court’s leave. The court should freely give leave when justice so

  requires.” The Third Circuit has held that “[i]n evaluating challenges to the denial of opportunity

  to amend we have held consistently that leave to amend should be granted freely. This approach
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  ensures that a particular claim will be decided on the merits rather than on technicalities.” Dole

  v. Arco Chem. Co., 921 F.2d 484, 486 (3d Cir. 1990) (citations omitted) (emphasis added).

  However, “[a]mong the grounds that could justify a denial of leave to amend are undue delay, bad

  faith, dilatory motive, prejudice, and futility.” In re Burlington Coat Factory Sec. Litig., 114 F.3d

  1410, 1434 (3d Cir.1997). In this case, no grounds exist justifying a denial of Plaintiff’s motion

  to amend. Therefore, the motion should be granted.

          i.        Defendant is Not Prejudiced by Plaintiff’s Motion

          In deciding whether to grant leave to amend, “prejudice to the non-moving party is the

  touchstone for the denial of the amendment.” Bechtel v. Robinson, 886 F.2d 644, 652 (3d

  Cir.1989) (quoting Cornell & Co., Inc. v. Occupational Health and Safety Review Comm’n, 573

  F.2d 820, 823 (3d Cir. 1978)). To establish prejudice, the non-moving party must make a showing

  that “allowing an amendment would result in additional discovery, cost, and preparation to defend

  against new facts or new theories.” Cureton v. Nat’l Collegiate Athletic Ass’n, 252 F.3d 267, 273

  (3d Cir. 2001).

          Here, Defendant will not suffer any undue prejudice by virtue of the Court’s allowance of

  the proposed amendment. The proposed amendment does not change any facts or allegations nor

  does it espouse new theories of liability, it simply clarifies two additional putative classes that flow

  from the alleged violations already asserted against Defendant in the current Second Amended

  Complaint. There is no discovery that will need to be repeated. The Court has stayed discovery

  pending the outcome of Defendant’s Motion. Furthermore, there has been no undue delay in filing




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  the amendment7, and there will be no further cost or preparation for T-Mobile to defend against

  Plaintiff’s claims as they are the same as that of the Second Amended Complaint.

          Defendant will likely argue that they are prejudiced by having to file another attack on a

  proposed amendment. Defendant’s response to the instant motion will permit it the opportunity to

  assert the futility of the proposed amendment, which is the same standard for a motion to dismiss.

  Markert v. PNC Fin. Servs. Grp., Inc., 828 F. Supp. 2d 765, 771 (E.D. Pa. 2011). There will be

  no need for a motion to dismiss after the Court grants leave to amend. Moreover, expending

  additional time and resources to respond to an amended complaint is not appropriate to show

  prejudice to deny a motion to amend. Young v. St. Luke’s Hosp., 09-CV-03460, 2010 WL

  1348468, at *4 (E.D. Pa. Mar. 30, 2010) (“Defendant contends it would be prejudiced if I grant

  plaintiff leave to file her Second Amended Complaint because defendant would have to ‘expend

  time and financial resources repeatedly defending frivolous claims.’ This is not what is meant by

  prejudice in this context. Under defendant’s view of prejudice, any amendment to a defective

  complaint would be barred because the defendant would be forced to spend time and money

  defending the action.”); see also Calzaturificio Rangoni, S.A. v. U.S. Shoe Corp., 92 CIV. 2020

  (JFK), 1993 WL 485753, at *2 (S.D.N.Y. Nov. 23, 1993) (“Here Rangoni has not alleged bad

  faith, and the only prejudice it asserts is the need to litigate the newly-asserted defense. This is not



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           If Defendant contends that there has been a delay, it should be noted that delay alone does
  not justify denying a motion to amend. See Cureton v. Nat’l Collegiate Athletic Ass’n, 252 F.3d
  267, 273 (3d Cir. 2001). Rather, it is only where delay becomes “‘undue,’ placing an unwarranted
  burden on the court, or . . . ‘prejudicial,’ placing an unfair burden on the opposing party” that
  denial of a motion to amend is appropriate. Adams v. Gould Inc., 739 F.2d 858, 868 (3d Cir.
  1984). Delay is generally found when a plaintiff seeks leave to amend many months after the
  filing of the complaint and deep into the litigation, and not, as in this case, where it is early in
  litigation. Therefore, there is plainly no undue delay in this case that would prevent this Court from
  granting leave to amend.

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  a legitimate objection, since it would eliminate the possibility of all substantive amendment of

  pleadings.”).   Therefore, Defendant cannot show that it would be prejudiced by Plaintiff’s

  proposed Third Amended Complaint and leave to amend should be granted.

           ii.    Plaintiff’s Request to File the Third Amended Complaint is Not Futile and
                  Should be Allowed
          “[L]eave      to      amend       need       not      be     granted       when       amending

  the complaint would clearly be futile.” Cowell v. Palmer Township, 263 F.3d 286, 296 (3d

  Cir.2001) (emphasis added). An amendment is futile if it “is frivolous or advances a claim or

  defense that is legally insufficient on its face.” Harrison Beverage Co. v. Dribeck Imp., Inc., 133

  F.R.D. 463, 468 (D. N.J. 1990) (internal quotation marks and citations omitted) (emphasis added.).

  To evaluate futility, the same standard of legal sufficiency is applied as is applied for a motion to

  dismiss. Markert v. PNC Fin. Servs. Grp., Inc., 828 F. Supp. 2d 765, 771 (E.D. Pa. 2011). In this

  case, Plaintiff’s request to file an amended complaint is not futile as Plaintiff has standing to bring

  his claims and he has alleged sufficient facts to state a claim for relief that is facially plausible.

                  a.      Plaintiff Has Properly Plead Violations of §§ 1681b and 1681q of the
                          FCRA and Has Standing to Bring His Claim

          As Plaintiff has not changed any facts or law in his proposed Third Amended Complaint

  and simply adds two putative classes, Plaintiff has fully addressed any issues Defendant could

  have regarding the futility of Plaintiff’s proposed amendment to the Complaint in his Opposition

  to Defendant’s Motion to Dismiss, as set forth above. To reiterate, Plaintiff has standing to bring

  his claim because he has plead well-established concrete injuries-in-fact – an invasion of privacy

  and damage to credit worthiness – each of which are sufficient alone to confer Article III standing.

  See In re Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d at 641 (determining that

  “‘unauthorized disclosure of information’ have long been seen as injurious” and further holding

  that “[O]ur precedent and congressional action lead us to conclude that the improper disclosure of

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  one’s personal data in violation of FCRA is a cognizable injury for Article III standing purposes.”)

  (citation omitted); Santangelo v. Comcast Corp., 162 F.Supp.3d 691, 698 (N.D. Ill. 2016) (“[A]

  depleted credit score is sufficient to constitute an injury-in-fact for the purposes of establishing

  Article III standing.”). Plaintiff has also demonstrated that Defendant is the cause of that injury.

  See Constitution Party of Pennsylvania v. Aichele, 757 F.3d 347, 366 (3d Cir. 2014) (Holding that

  if the connection between the conduct and the injury is traceable, “an indirect causal relationship

  will suffice.”); Massachusetts v. E.P.A., 549 U.S. 497, 524 (2007) (The Court held that causation

  is present even if there is only an incremental link between the challenged action and asserted

  injury.).

          Furthermore, Plaintiff has properly plead violations of Sections 1681q and 1681b. There

  is clearly a private right of action for violations of 1681q and 1681b pursuant to 1681n(a)(1)(A).

  See Daley v. Haddonfield Lumber Inc., 943 F.Supp. 464, 467 (D.N.J. 1996) (“[S]ection 1681q

  provides the basis for imputing to users of consumer reports civil liability for willful violations of

  section 1681.”); Zieger v. J.A. Cambece Law Office, P.C., CIV. 14-2965 RBK/JS, 2015 WL

  3647267, at *3 (D.N.J. June 12, 2015) (“The FCRA imposes civil liability upon a person who

  willfully obtains a consumer report for a purpose that is not authorized by the FCRA . . . and a

  person who obtains a consumer report under false pretenses or knowingly without a permissible

  purpose.”). Furthermore, Defendant lacked a permissible purpose for obtaining Plaintiff’s credit

  report. Plaintiff was not seeking credit from Defendant and Plaintiff did not initiate a transaction

  with Defendant. See Plaintiff’s Brief at Argument section B.ii above. Furthermore, Defendant’s

  actions were calculated to mislead because Defendant made the affirmative choice to deceive

  Plaintiff about T-Mobile’s intentions and accessed his full credit file against Plaintiff’s will.




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         Finally, as stated more fully above, Plaintiff has standing to bring his NJ FCRA claims for

  much the same reason that Plaintiff has standing to bring his FCRA claim. Moreover, also as

  further stated above, Defendant adequately stated a claim under Sections 56:11-40 and 56:11-31

  for which relief can be granted.

                                             CONCLUSION

         Accordingly, in the interest of justice, this Court should deny Defendant’s Motion to

  Dismiss Plaintiff’s Second Amended Complaint and grant Plaintiff’s motion for leave to file the

  proposed Third Amended Complaint.

                                                      Respectfully submitted,

                                                      THE KIM LAW FIRM, LLC

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